           Case 1:18-vv-01067-UNJ Document 43 Filed 11/12/20 Page 1 of 7




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-1067V
                                     Filed: October 16, 2020

    * * * * * * * * * * * * *                  * *
    SALVATORE R. BOMBARA,                        *
                                                 *         UNPUBLISHED
                 Petitioner,                     *
    v.                                           *         Decision on Joint Stipulation;
                                                 *         Guillain-Barré Syndrome (“GBS”);
    SECRETARY OF HEALTH                          *         Tetanus, diphtheria, and acellular
    AND HUMAN SERVICES,                          *         pertussis (“Tdap”) Vaccine
                                                 *
             Respondent.                         *
    * * * * * * * * * * * * *                  * *

Amy Senerth, Esq., Muller Brazil, LLP, PA, for petitioner.
Lisa Watts, Esq., US Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION 1

Roth, Special Master:

        On July 20, 2018, Salvatore R. Bombara [“Mr. Bombara” or “petitioner”] filed a petition
for compensation under the National Vaccine Injury Compensation Program .2 Petitioner alleges
that he developed Guillain-Barré Syndrome (“GBS”) after receiving a tetanus, diphtheria, and
acellular pertussis (“Tdap”) vaccination on February 14, 2017. Stipulation, filed Oct. 16, 2020, at
¶¶ 1-4. Respondent denies that the immunization caused petitioner’s injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On October 16, 2020, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

1 Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:18-vv-01067-UNJ Document 43 Filed 11/12/20 Page 2 of 7




Respondent agrees to issue the following payment:

           A lump sum of $93,322.98 in the form of a check payable to petitioner, Salvatore
           R. Bombara. This amount represents compensation for all damages that would be
           available under § 300aa-15(a).

        I adopt the parties’ stipulation attached hereto, and award compensation in the amount and
on the terms set forth therein. The clerk of the court is directed to enter judgment in accordance
with this decision. 3

       IT IS SO ORDERED.

                                                    s/ Mindy Michaels Roth
                                                    Mindy Michaels Roth
                                                    Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

                                                2
Case 1:18-vv-01067-UNJ Document 43 Filed 11/12/20 Page 3 of 7
Case 1:18-vv-01067-UNJ Document 43 Filed 11/12/20 Page 4 of 7
Case 1:18-vv-01067-UNJ Document 43 Filed 11/12/20 Page 5 of 7
Case 1:18-vv-01067-UNJ Document 43 Filed 11/12/20 Page 6 of 7
Case 1:18-vv-01067-UNJ Document 43 Filed 11/12/20 Page 7 of 7
